                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                             Case No. 1:15-cv-831


ELIZABETH HENRY,
AART SCHULENKLOPPER,
EILEEN CARTER,
SHONDELL JONES,
JAN BURKHARD-CATLIN, and
LINDSAY PURRINGTON,
                   Plaintiffs,

      v.

NORTH CAROLINA ACUPUNCTURE                                   COMPLAINT
LICENSING BOARD,
EMMYLOU NORFLEET,
M. CISSY MAJEBE,
KAREN VAUGHN,
VIKKI ANDREWS,
CHESTER PHILLIPS, and
MARC CUTLER,

                   Defendants.


                             NATURE OF THE ACTION

       1.     This lawsuit is about private health care practitioners who use their

positions on a government board to prohibit their competitors from competing.

       2.     The North Carolina Acupuncture Licensing Board is the state agency in

North Carolina that regulates the practice of acupuncture. The Acupuncture Board is

controlled by a supermajority of practicing acupuncturists. In their private practices,

these acupuncturists compete against various health care professionals, including physical

therapists.




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          3.   This competition is desirable because it promotes the interests of

consumers. When physical therapists compete with acupuncturists, consumers get to

decide which services they want and how much they are willing to pay for them. As a

result, the consumer wins.

          4.   In recent years, the number of physical therapists who compete with

acupuncturists in North Carolina has grown. In response to that competitive threat, North

Carolina’s acupuncturists looked to their colleagues on the Acupuncture Board to take

action.

          5.   Succumbing to their own self-interests and pressure from their fellow

acupuncturists, the members of the Acupuncture Board are using their government power

to expel physical therapists from the market. Their anticompetitive actions include, most

notably, sending “cease and desist” letters to physical therapists with the intent to drive

them from the marketplace.

          6.   The Acupuncture Board is engaging in this conduct despite its own

admission that it “does not have jurisdiction over any other practitioner in this state other

than licensed acupuncturists.” It is engaging in this conduct despite its own admission

that it “could be seen as professional protectionism in the eyes of law enforcement.”

          7.   The Acupuncture Board’s actions have real consequences.             Plaintiffs

Elizabeth Henry and Aart Schulenklopper are physical therapists who received the

Acupuncture Board’s cease-and-desist letters; their ability to earn a living is under threat.

Plaintiffs Eileen Carter and Shondell Jones are physical therapists who want to enter the



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market but are afraid to do so; they fear that the Acupuncture Board will pursue

“unauthorized practice” allegations against them. Plaintiffs Jan Burkhard-Catlin and

Lindsay Purrington are professional ballet dancers whose job performance depends on

the treatment they get from physical therapists; they want to continue getting that

treatment and they do not want to be forced to get acupuncture instead—especially if they

will be deprived of the benefits of price competition. Like all consumers, they do not

want to pay more for less.

       8.     Plaintiffs have brought this lawsuit to hold the Acupuncture Board and its

members accountable for their conduct under the federal antitrust laws and the United

States Constitution.

                                     THE PARTIES

       9.     Plaintiff Elizabeth Henry is a licensed physical therapist. Dr. Henry is a

resident of Wilmington, North Carolina.

       10.    Plaintiff Aart K. Schulenklopper is a licensed physical therapist.        Dr.

Schulenklopper is a resident of Greensboro, North Carolina.

       11.    Plaintiff Shondell Jones is a licensed physical therapist. Dr. Jones is a

resident of Greenville, North Carolina.

       12.    Plaintiff Eileen Carter is a licensed physical therapist. Ms. Carter is a

resident of Wilson, North Carolina. She will receive her doctorate in physical therapy in

January 2015.

       13.    Plaintiff Jan Burkhard-Catlin is a resident of Raleigh, North Carolina.



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      14.    Plaintiff Lindsay Purrington is a resident of Raleigh, North Carolina.

      15.    The North Carolina Acupuncture Licensing Board is the North Carolina

state agency charged with regulating the practice of acupuncture. Its principal place of

business is 1101 Haynes Street, Suite 100, in Raleigh, North Carolina.

      16.    Defendant Emmylou Norfleet is a member and current Chair of the

Acupuncture Board.      Dr. Norfleet is a licensed acupuncturist in Asheville, North

Carolina. Upon information and belief, Dr. Norfleet offers acupuncture services through

her company, the Chinese Acupuncture and Herbology Clinic.

      17.    Defendant M. Cissy Majebe is a member and current Secretary of the

Acupuncture Board. Dr. Majebe is a licensed acupuncturist in Asheville, North Carolina.

Upon information and belief, like Dr. Norfleet, Dr. Majebe also offers acupuncture

services through her company, the Chinese Acupuncture and Herbology Clinic.

      18.    Defendant Karen Vaughn is a member of the Acupuncture Board. Dr.

Vaughn is a licensed acupuncturist in Wilmington, North Carolina. Upon information

and belief, Dr. Vaughn offers acupuncture services through her company, The

Acupuncture Alternative.

      19.    Defendant Chester Phillips is a member of the Acupuncture Board. Dr.

Phillips is a licensed acupuncturist in Raleigh, North Carolina. Upon information and

belief, Dr. Phillips offers acupuncture services through his company, North Hills

Integrative Medicine Associates.




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      20.    Defendant Marc Cutler is a member of the Acupuncture Board. Dr. Cutler

is a licensed acupuncturist in Raleigh, North Carolina. Upon information and belief, he

offers acupuncture services through his company, Advanced Healthcare Solutions.

      21.    Defendant Vikki Andrews is a resident of Fayetteville, North Carolina.

Upon information and belief, she holds a doctorate degree in education. Dr. Andrews is

listed on the Acupuncture Board’s website as a member of the Acupuncture Board.

However, the Acupuncture Board’s website states that her appointment to the

Acupuncture Board expired on June 30, 2015. Insofar as Dr. Andrews continues to serve

on the Acupuncture Board, she is the only Acupuncture Board member who is not a

licensed acupuncturist.

      22.    Dr. Norfleet, Dr. Majebe, Dr. Vaughn, Dr. Phillips, Dr. Cutler, and Dr.

Andrews are referred to collectively as “the Acupuncture Board Defendants.”

                             JURISDICTION AND VENUE

      23.    The Court has subject matter jurisdiction over this action under 15 U.S.C.

§ 15 and 28 U.S.C. § 1331.

      24.    The Court has personal jurisdiction over all Defendants.

      25.    Venue in this district is proper under 28 U.S.C. §§ 1391(b)(1) and (c)(2).

The Acupuncture Board is deemed to reside in this district because it is subject to the

Court’s personal jurisdiction in this district with respect to this action. As described

below, the Acupuncture Board took anticompetitive action within this district.       In

addition, venue in this district is proper under 28 U.S.C. § 1391(b)(2) because a



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substantial portion of the violations and harms complained of occurred and, in the

absence of injunctive relief, will continue to occur in this district.

                                FACTUAL ALLEGTIONS

                            Physical Therapy and Dry Needling

       26.    Physical therapy is a health care profession within the medical model.

Physical therapists are licensed, highly educated, and highly trained health care

professionals who use medically tested and evidence-based methods to maintain, restore,

and improve their patients’ movement, activity, and health. They are recognized as vital

providers of rehabilitation, habilitation, and risk-reduction healthcare services. They play

essential roles in today’s health care environment.

       27.    Physical therapy is regulated in all 50 states and the District of Columbia.

Since 1951, the North Carolina Board of Physical Therapy Examiners has licensed and

regulated North Carolina physical therapists.        This licensure requires completion of

comprehensive education and training to ensure that all North Carolina physical

therapists are competent to safely provide evidence-based and effective physical therapy

services. There are approximately 8,000 licensed physical therapists in North Carolina.

       28.    Physical therapists undergo a rigorous and comprehensive educational and

training curriculum that allows them to perform various interventions safely. Accredited

physical therapy programs require approximately 2,500 hours of instruction in the areas

of   anatomy,     histology,   physiology,     biomechanics,     kinesiology,   neuroscience,

pharmacology, pathology, clinical sciences, clinical interventions, clinical applications,



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and screening. This intensive curriculum ensures that physical therapists become experts

in human anatomy and have a detailed understanding of the human musculoskeletal

system.

         29.   One of the many pain issues that physical therapists treat is myofascial

trigger point pain. Myofascial trigger point pain is pain arising from one or more hyper-

irritable spots in skeletal muscle associated with hypersensitive palpable nodules and taut

bands.

         30.   Physical therapists address the pain and dysfunction associated with these

myofascial trigger points in various ways. A commonly used intervention for treating

myofascial trigger point pain is intramuscular manual therapy, which is generally referred

to as “dry needling.”

         31.   Dry needling is an effective intervention that physical therapists perform

safely in North Carolina every day. During dry needling, physical therapists insert

needles into trigger points (taut bands in the muscles) to relieve patients’ pain or

dysfunction.

         32.   Dry needling has its origins in Western medicine. During the early 1940s,

Dr. Janet Travell, an American physician, first explored the use of trigger point injections

to therapeutically treat myofascial pain. In the 1970s and 1980s, physical therapists who

had studied with Dr. Travell realized the same therapeutic effects could be achieved with

the use of dry needles.




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       33.    Physical therapists have been performing dry needling in the United States

for more than 30 years. Physical therapists currently perform dry needling in 32 states,

including North Carolina.

       34.    The effectiveness of dry needling by physical therapists has been confirmed

in multiple studies and comprehensive reviews. Research has shown that dry needling

improves pain control, reduces muscle tension, normalizes dysfunction, and accelerates

rehabilitation. Research has also shown that dry needling, in conjunction with other

conventional therapies, relieves pain and improves function better than conventional

therapies alone.

       35.    According to a recent study by the Human Resources Research

Organization, more than four-fifths (86%) of what physical therapists need to know to be

competent in dry needling is acquired during the course of their clinical education alone.

This includes knowledge related to evaluation, assessment, diagnosis and plan of care

development, documentation, safety, and professional responsibilities.

       36.    Dry needling is a safe intervention when performed by licensed physical

therapists. The Federation of State Boards of Physical Therapy maintains a database of

disciplinary actions against physical therapists.    Upon information and belief, the

Federation of State Board’s database does not contain a single record of discipline in any

jurisdiction for harm caused by dry needling performed by physical therapists.

       37.    Many licensed physical therapists in North Carolina, including Dr. Henry

and Dr. Schulenklopper, have been performing dry needling in North Carolina for many



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years. Neither Dr. Henry nor Dr. Schulenklopper have had a single patient complaint

related to their dry needling services.

             Dry Needling is Within the Scope of Physical Therapy Practice

       38.    Dry needling is within the scope of physical therapy practice.

       39.    In North Carolina, the Physical Therapy Board is the only North Carolina

state regulatory agency charged with regulating physical therapists who practice physical

therapy within their scope of practice.

       40.    In December 2010, the Physical Therapy Board expressly determined that

dry needling is within the scope of practice of physical therapy in North Carolina.

       41.    The Federation of State Boards of Physical Therapy, the American Physical

Therapy Association, and the American Academy of Orthopedic Manual Physical

Therapists have also expressly stated that dry needling is within the scope of practice of

physical therapists.

       42.    The use of needles by physical therapists is not a new practice. Physical

therapists in North Carolina have safely used needles in performing electromyography

(“EMG”) tests for more than fifty years. An EMG test records and measures electrical

activity of a muscle and is performed by inserting a needle into the muscle. The needles

used in EMG tests are similar to the needles used in dry needling, except that the needles

used in dry needling generally cause less irritation than do the needles physical therapists

currently use when performing EMG tests.




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       43.    In April 2011, the Acupuncture Board requested an Advisory Opinion from

the North Carolina Attorney General on whether dry needling was within the scope of

practice of physical therapy or, alternatively, was a form of acupuncture.

       44.    In December 2011, the North Carolina Attorney General’s Office opined

that the Physical Therapy Board had the authority to determine that dry needling is within

the scope of practice of physical therapy. The Attorney General’s Office further opined

that the “authority to use acupuncture needles for therapeutic purposes is not necessarily

reserved exclusively to licensed acupuncturists” and that North Carolina’s “licensing

statutes presume there will be some overlap among the various professions.”           The

Attorney General’s Office further opined that “dry needling is . . . distinct from

acupuncture.”

       45.    Dry needling is, in fact, distinct from acupuncture. Dry needling is not

synonymous with a form of acupuncture known as “Ashi point needling.”

                         Acupuncture and Ashi Point Needling

       46.    Acupuncture has its origins in ancient Chinese Daoist philosophy and

religion. The central premise of acupuncture is the belief that the workings of the human

body are controlled by an energy or life force known as “Qi” (pronounced “chee”).

       47.    Acupuncturists are taught that to achieve optimal health, Qi must flow

through certain pathways in the body at the correct strength. These pathways are known

as “energy meridians.”




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       48.    When acupuncturists detect an imbalance in the flow of an individual’s Qi,

they insert an acupuncture needle into certain “Ashi points,” which are a fixed set of

locations mapped out over the human body based on energy meridians. This technique is

known as “Ashi point needling.” Acupuncturists perform Ashi point needling under the

belief that the technique will cause the individual’s energy flow to rebalance.

       49.    Ashi point needling is often performed while the acupuncturist burns sticks

or cones made of herbs such as mugwort. These sticks or cones are known as “moxa

sticks” or “moxa cones.” This herb burning is done near the skin or, in some instances,

directly on the skin. When moxa burning occurs on the skin, it can cause burning and

blistering of the skin, as well as intense pain.

       50.    Acupuncturists are taught that Ashi point needling can be used to treat a

variety of health issues, including tobacco addiction, allergies, depression, and infertility.

Acupuncturists are also taught that Ashi point needling can be used to treat

neuromusculoskeletal pain or dysfunction.

       51.    Neuromusculoskeletal pain or dysfunction are indications for dry needling

performed by physical therapists.        As a result, acupuncturists in North Carolina—

including the acupuncturists who serve on the Acupuncture Board—compete with North

Carolina physical therapists who perform dry needling.




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                                  The Relevant Market

      52.    The relevant market in which to evaluate the conduct of the Acupuncture

Board is the combined market for dry needling services and Ashi point needling services

in North Carolina.

      53.    Dry needling by physical therapists is a popular alternative to Ashi point

needling for North Carolina consumers.

      54.    Some consumers in the relevant market prefer dry needling by physical

therapists over Ashi point needling because it is less expensive for them. The actual cost

of dry needling by physical therapists is often lower than the actual cost of Ashi point

needling. Moreover, a number of health insurers in North Carolina will pay for dry

needling by physical therapists but decline to pay for Ashi point needling. The North

Carolina State Health Plan—which includes nearly 700,000 North Carolina teachers,

state employees and retirees, current and former lawmakers, state university and

community college personnel, and their dependents—pays for dry needling by physical

therapists but does not pay for Ashi point needling. Thus, for a number of consumers in

North Carolina, the out-of-pocket price of dry needling is substantially lower than for

Ashi point needling.

      55.    In addition, some consumers in the relevant market prefer dry needling by

physical therapists over Ashi point needling because it is more convenient for them.

Patients who receive dry needling services from physical therapists often seek

complementary physical therapy such as exercise, manual therapy, and education. Dry



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needling patients can receive these complementary therapies in a single visit with the

physical therapist offering the dry needling services. Acupuncturists who offer Ashi

point needling cannot offer these complementary physical therapy services.

      56.    Moreover, some consumers in the relevant market prefer dry needling by

physical therapists over Ashi point needling because of their aversion to seek alternative

health treatments based in ancient Chinese philosophy and religion.

      57.    Licensed physical therapists in North Carolina who perform dry needling

are an economic threat to acupuncturists in North Carolina who perform Ashi point

needling. There are approximately 400 licensed acupuncturists in North Carolina. There

are approximately 200 physical therapists in North Carolina who currently offer dry

needling.

                                The Acupuncture Board

      58.    Under North Carolina law, the Acupuncture Board is comprised of a

supermajority of licensed acupuncturists.        Under N.C. Gen. Stat. § 90-453(a), the

Acupuncture Board must be comprised of nine members. Seven of those members must

be licensed acupuncturists who are active market participants in the relevant market.

      59.    For some extended period of time leading up to the present, the

Acupuncture Board has been comprised of six members—five licensed acupuncturists

and Dr. Andrews.

      60.    Upon information and belief, two additional licensed acupuncturists were

recently appointed to the Acupuncture Board. Therefore, if Dr. Andrews’ term on the



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Board has expired as described above, the Acupuncture Board is comprised of seven

members, all of whom are licensed acupuncturists who compete in the relevant market.

       61.     Under North Carolina law, the Acupuncture Board has jurisdiction to

regulate and discipline licensed acupuncturists.      N.C. Gen. Stat. § 90-456.        The

Acupuncture Board’s authority with respect to unlicensed persons, however, is more

restricted: It may only file a lawsuit to enjoin unlicensed individuals from practicing

acupuncture.    N.C. Gen. Stat. § 90-454(4).    The Acupuncture Board does not have

authority to discipline unlicensed individuals or order them to cease and desist from

engaging in conduct that the Acupuncture Board believes is within the acupuncture

scope-of-practice statute.

       62.     At all relevant times, the Acupuncture Board’s supermajority of active

market participants controlled its actions. At all relevant times, this supermajority of

active market participants had an incentive to pursue their own self-interests under the

guise of implementing state policies.

       63.     At all relevant times, the Acupuncture Board’s actions were not actively

supervised by the State of North Carolina. The Acupuncture Board is funded by licensed

acupuncturists and acupuncture schools.     The Acupuncture Board is represented by

private counsel.

       64.     The Acupuncture Board’s anticompetitive acts were not undertaken

pursuant to a clearly articulated and affirmatively expressed State policy to displace

competition by expelling and deterring physical therapists from the relevant market.



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                  The Acupuncture Board’s Anticompetitive Conduct

       65.    In recent years, the number of licensed physical therapists in North

Carolina who offer dry needling has grown. North Carolina’s acupuncturists reacted to

that competitive threat by taking action to suppress competition.

       66.    Acting through their fellow active market participants on the Acupuncture

Board, acupuncturists in North Carolina—and their trade association, the North Carolina

Association of Acupuncture and Oriental Medicine—sought to reduce or eliminate

competition by using the Acupuncture Board’s government power to drive physical

therapists from the relevant market.

       67.    Beginning     in   2010,   the    Acupuncture   Association   pressured   the

Acupuncture Board to use its government power to suppress competition from physical

therapists. As the Acupuncture Board’s official minutes confirm, the Acupuncture Board

agreed to take the specific actions requested by the Acupuncture Association.

       68.    The minutes from the Acupuncture Board’s June 25, 2010 meeting state

that “the topic of dry needling” was “on the agenda” and that “members of the

[Acupuncture Association] were against other professions practicing dry needling.” The

Acupuncture Association offered to “be a resource for this issue” and told the

Acupuncture Board that it had “expert witnesses for any hearing and/or can write a letter

to the Attorney General.”

       69.    In response, the Acupuncture Board’s attorney “offered to help the

[Acupuncture Association]” by “following up on this issue with them.” The Acupuncture



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Board’s attorney also reported that there were “various website articles she found during

her internet research that make the argument for Physical Therapists to use dry needling.”

(emphasis added). To rebut these articles in support of physical therapists performing dry

needling, the Acupuncture Board’s attorney “encouraged Board members to write articles

to post on the internet discouraging the use of dry needling among other practitioners.”

       70.    At the Acupuncture Board’s next meeting on July 30, 2010, the

Acupuncture Board invited the Acupuncture Association’s president to give a report on

dry needling. The minutes of that meeting state that the Acupuncture Association’s

president “reported that the Association is attempting to set up a system to communicate

with Board members and practitioners should something come up in the legislature that

the Board or Association needs to take action upon.” The Acupuncture Board suggested

an appropriate contact in its office to discuss this new communication system.

       71.    At the Acupuncture Board’s April 1, 2011 meeting, the Acupuncture

Association was invited to give a report on its lobbying efforts related to dry needling.

The minutes of that meeting state that “the Association will be going to the General

Assembly with [its lobbyist] on April 12, 2011 to meet with legislators.” To assist the

Acupuncture Association with its lobbying efforts, the Acupuncture Board instructed its

attorney to draft “a one page position paper regarding dry needling” and “email it to the

Board for its approval.”

       72.    Following that meeting, a member of the Acupuncture Board sent an April

15, 2011 e-mail to the other members of the Acupuncture Board and its attorney to



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discuss an “ethics” issue. The e-mail described how the Acupuncture Association’s

“liaisons . . . can act ‘like’ lobbyists” before the Acupuncture Board. The e-mail warned

that an “outsider” might see the Acupuncture Association’s involvement as “furthering

the profession[’s] position” and “specifically professional turf protection, and hence more

properly the province of the Association rather than the Board.” The e-mail further stated

that “this is an example of how one person’s competence argument can look like a further

the profession argument.” The e-mail ultimately concluded, however, that as long as

there was “a public protection argument . . . it seems reasonable . . . for the Board to

support [the ‘turf protection’] argument.”

       73.      At the Acupuncture Board’s next meeting on April 29, 2011, the

Acupuncture Board considered its attorney’s draft “position paper” on dry needling. The

minutes of that meeting state that the Acupuncture Board’s attorney “passed around

revised copies of the [Acupuncture Board’s] Dry Needling document and the Board made

revisions to the document, changing the title to: ‘NCALB Defines Dry Needling as

Acupuncture.’”

       74.      Approximately one year later at the Acupuncture Board’s April 27, 2012

meeting, the Acupuncture Association’s president was invited to give another report on

dry needling. The Acupuncture Association’s president told the Acupuncture Board that

“[t]he issue of dry needling being defined as acupuncture is still a strong priority of the

Association.”




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      75.     At the Acupuncture Board’s June 29, 2012 meeting, the Acupuncture

Association was again invited to give a report on its “concern regarding physical

therapists performing dry needling.”     In response to the Acupuncture Association’s

report, a member of the Acupuncture Board “suggested the Board form a committee to

begin putting together language in a position statement regarding the [Acupuncture

Board’s] position on dry needling,” which would be “distributed online.” Two other

members of the Acupuncture Board agreed to serve on this committee.             Upon its

formation, the committee “asked [the Acupuncture Association’s president] to give them

some talking points which the Association would like to see the committee address in its

statement.”

      76.     The June 29, 2012 meeting concluded with the Acupuncture Board noting

that it “has not had a formal complaint filed with them regarding the practice of dry

needling by a physical therapist.” The Acupuncture Board assured the Acupuncture

Association, however, that “when and if the Board receives a formal complaint, they will

act on the complaint.”

      77.     That same day, a member of the Acupuncture Board e-mailed the other

members of the Acupuncture Board, its attorney, and the Acupuncture Association

president to let them know he had “done some editing to the Wikipedia page” for “dry

needling.”    His extensive edits to the www.wikipedia.com entry for “dry needling”

included adding a statement that “[d]ry needling would appear to be closest to the use of

what are called a-shi points in acupuncture.” In his e-mail, he noted that other revisions



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he had made “would benefit from a citation.”         In response, other members of the

Acupuncture Board offered their suggestions.

       78.    By the time of the Acupuncture Board’s September 28, 2012 meeting, the

Acupuncture Board was ready to issue its publication on dry needling. The minutes of

that meeting state that “[t]he position paper on Dry Needling is now finalized.” The

minutes further state that “[t]he Board will post the Position Statement on the website and

submit to the [Acupuncture Association].         The Statement will be presented to the

Association and posted on their website as well.”

       79.    The minutes of that meeting further state that the Acupuncture Board

directed that one of its members “will be responsible for amending information on dry

needling on www.wikipedia.com.”

       80.    The Acupuncture Board’s September 2012 publication was entitled “Dry

Needling is Intramuscular Manual Therapy is Acupuncture” (“the Publication”). The

Publication set forth the Acupuncture Board’s view that it could “define dry needling as

the practice of acupuncture.” Relying on its new “definition,” the Publication further

stated that dry needling was the unauthorized practice of acupuncture.

       81.    The Publication stated that “physical therapists performing dry needling in

North Carolina” were:

       •      engaging in a “misrepresentation of the skill set included in the scope of

              practice of physical therapists in North Carolina”;

       •      “confus[ing] the public as to who may provide Acupuncture safely”;


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       •      “undermin[ing] the General Assembly”;

       •      subject to being “legally enforced to discontinue these actions”; and

       •      “endangering the public.”

       82.    The Acupuncture Board made the Publication available on its website and

disseminated it to third parties.

       83.    As reflected in its minutes, the Acupuncture Board also further edited the

“dry needling” entry on www.wikipedia.com.          The Acupuncture Board edited the

www.wikipedia.com content to state: “The North Carolina Acupuncture Licensing Board

has published a position statement asserting that dry needling is acupuncture and thus is

covered by the North Carolina Acupuncture Licensing law, and is not within the present

scope of practice of Physical Therapists, and Physical Therapists are not among the

professions exempt from the law.”          The Acupuncture Board also revised the

www.wikipedia.com entry to include a link to a PDF file of the Publication.

       84.    Acupuncturists in North Carolina shared the Publication with consumers

through social media and blogs in an effort to persuade consumers not to seek dry

needling services from physical therapists. For example, the Lotus Center for Oriental

Medicine, Acupuncture, and Healing Arts in Greensboro, North Carolina posted the

Publication on its blog. The Lotus Center also posted links to the Publication on Twitter

with captions such as: “Check out our latest NC Acupuncture Licensing Board Position

Statement on Dry Needling” and “Have you heard about Dry Needling? Read the NC

Licensing Board's position on this.”


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      85.    At the Acupuncture Board’s next meeting on October 26, 2012, the

Acupuncture Board invited its Executive Director to address the issue of dry needling. In

the presence of the Acupuncture Association’s president, the Executive Director stated

that the Acupuncture Board “would be best served with formal complaints filed with it in

order to act more proactively on the issue of non-licensed persons performing dry

needling.”

      86.    On November 12, 2012, the Acupuncture Association wrote a letter to the

Acupuncture Board. The Acupuncture Association’s letter:

      •      “urge[d]” the Acupuncture Board to “more vigorously oppose the practice

             of dry needling by physical therapists”;

      •      demanded that the Acupuncture Board take several “immediate steps,”

             including “writ[ing] a cease-and-desist letter to every physical therapist

             performing dry needling”;

      •      suggested that “[a] simple Google search of ‘dry needling – physical

             therapist – North Carolina’ will identify most of the practitioners doing so”;

      •      demanded that the Acupuncture Board “write a cease and desist letter to

             every training enterprise that is erroneously telling physical therapists that

             they can train in and perform dry needling in North Carolina”; and

      •      urged the Acupuncture Board to “[d]etermine who the investigator

             appointed to [the Acupuncture Board] is and focus him/her on this issue.”




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          87.   On December 7, 2012, the Acupuncture Board responded by letter to the

Acupuncture Association “to address the Association’s requests regarding its

recommendations for actions the Board should take.” The Acupuncture Board’s letter

stated:

          •     “It’s important to remember the [Acupuncture Board] does not have

                jurisdiction over any other practitioner in this state other than licensed

                acupuncturists.” (emphasis in original).

          •     The applicable “statutes are open to interpretation by other Boards.”

          •     “[T]his question may need to be resolved by legislators.”

          •     The Acupuncture Board “had received a complaint listing twelve physical

                therapists who were allegedly advertising dry needling on their websites,”

                which the Acupuncture Board promised to “investigate and . . . issue Cease

                and Desist letters to those who are guilty of advertising dry needling.” A

                “[carbon copy] will also be sent of each letter to the [Physical Therapy

                Board].”

          •     “It is important to note that complaints solely from licensed acupuncturists

                could be seen as professional protectionism in the eyes of law enforcement

                or in the eyes of legislators.”

          88.   The “complaint” targeting twelve physical therapists referenced in the

Acupuncture Board’s response was filed by Dr. Majebe. In a November 9, 2012 e-mail




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regarding Dr. Majebe’s complaint, a member of the Acupuncture Board stated that he

“told her to send it and we could then act on it.”

       89.    Dr. Majebe had previously served as Chair of the Acupuncture Board. She

would soon become a member of the Acupuncture Board again.

       90.    The Acupuncture Association was made aware of Dr. Majebe’s list, and it

pressured the Acupuncture Board to take action against the physical therapists on her list.

The minutes of the Acupuncture Board’s March 22, 2013 meeting state that the

Acupuncture Association demanded the Acupuncture Board “explain why the Cease and

Desist letters are [not being sent to] the list of physical therapists advertising dry needling

submitted by Cissy Majebe.” The Acupuncture Board responded that it “decided against

sending the letter at the time due to the fact that they did not have evidence of practice,

nor testimony from a patient complaining about dry needling.”

       91.    At the Acupuncture Board’s next meeting on April 26, 2013, Dr. Majebe

appeared in person “to inquire about the status of the Board’s investigation regarding the

complaint she filed with the [Acupuncture Board] which gave names of physical

therapists who were advertising dry needling.” The Acupuncture Board responded that it

had “drafted a Cease and Desist letter which the Board is considering sending to the

physical therapists in the investigation.”

       92.    To further encourage the Acupuncture Board to take immediate action

against the physical therapists on her list, Dr. Majebe shared that she had been successful

in convincing a local hospital to take anticompetitive action against physical therapists.



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Dr. Majebe stated “that she has worked with her local hospital to educate them on

physical therapists doing dry needling, which has in turn resulted in her local hospital

prohibiting physical therapists from doing dry needling.” Dr. Majebe “encouraged the

Board to also be in communication with local hospitals and hospital systems.”

      93.    The minutes of this April 26, 2013 meeting also indicate that the

Acupuncture Board’s attorney reported on the Acupuncture Board’s legal strategy: that

the Acupuncture Board “would like to strengthen its case and argument by receiving a

formal complaint regarding proof of practice of dry needling by physical therapists, as

well as a formal complaint by a patient who has been injured by dry needling.”

      94.    In response to the Acupuncture Board’s solicitation of patient complaints

for it to act upon, the Acupuncture Association’s president stated that the Acupuncture

Association “is currently working on obtaining a patient complaint to the [Acupuncture

Board].”

      95.    By May 2013, however, the Acupuncture Association had been unable to

find a patient with a complaint about dry needling. As a result, the only complaint before

the Acupuncture Board was the complaint from Dr. Majebe.

      96.    The Acupuncture Association demanded that the Acupuncture Board move

forward with issuing cease-and-desist letters to the physical therapists listed in Dr.

Majebe’s complaint. The minutes from the Acupuncture Board’s May 24, 2013 meeting

state that a member of the Board “presented letters to the Board from the [Acupuncture

Association’s] President and [the Acupuncture Association’s] attorney urging the Board



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to reconsider sending Cease and Desist letters to individuals practicing dry needling who

are not licensed to practice acupuncture.” After the Acupuncture Board reviewed the

letters from the Acupuncture Association, “the Board decided to move forward with

sending Cease and Desist letters to the individuals who are advertising dry needling at

their practices.”

       97.    At the Acupuncture Board’s next meeting on June 28, 2013, the

Acupuncture Board considered “a draft of Cease and Desist letters to go to physical

therapists that are advertising dry needling.” The Acupuncture Board “discussed changes

to the letter,” then unanimously approved the cease-and-desist letters as amended.

       98.    That same month, the members of the Acupuncture Board and the president

of the Acupuncture Association also discussed the edits that had been made to the entry

for “dry needling” on www.wikipedia.com. The member of the Acupuncture Board

responsible for making the edits stated that “[i]t is possible that my references could be

challenged as inadequate.”      The subject of the e-mail was entitled: “Dry needling

Wikipedia war (I mean entry).”

       99.    On or about August 3, 2013, Dr. Majebe became a member of the

Acupuncture Board. A few weeks later, the Acupuncture Board issued cease-and-desist

letters to the physical therapists listed in her complaint (“the Cease-and-Desist Letters”).

       100.   The Cease-and-Desist Letters were intended to intimidate licensed physical

therapists in North Carolina who were providing and advertising for dry needling




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services. The Cease-and-Desist Letters were printed on the Acupuncture Board’s official

state government letterhead.

       101.   The Cease-and-Desist Letters:

       •      ordered the targets to immediately “CEASE AND DESIST” providing dry

              needling services;

       •      attached a copy of the Publication;

       •      stated that by engaging in dry needling, the target may be engaging in

              illegal billing procedures and could be subject to further action by the North

              Carolina Department of Insurance; and

       •      stated that practicing acupuncture without a license was a Class 1

              misdemeanor.

       102.   None of the targets of the Cease-and-Desist Letters were licensed

acupuncturists. The targets of the Cease-and-Desist Letters were all physical therapists.

       103.   The Acupuncture Board issued the Cease-and-Desist Letters despite the fact

that the U.S. Court of Appeals for the Fourth Circuit had issued a decision a few months

earlier holding that identical conduct by the North Carolina Board of Dental Examiners

violated the federal antitrust laws.

       104.   Dr. Henry received the Cease-and-Desist Letter at her practice in

Wilmington. Dr. Schulenklopper received the Cease-and-Desist Letter at his practice in

Greensboro.




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       105.   Notwithstanding the Acupuncture Board’s earlier statement to the

Acupuncture Association that it would copy the Physical Therapy Board on any Cease-

and-Desist Letters, the Acupuncture Board did not copy the Physical Therapy Board on

any of the Cease-and-Desist Letters.

       106.   The Cease-and-Desist Letters were also intended to—and did—deter

licensed physical therapists in North Carolina who intended to enter the relevant market.

Many licensed physical therapists in North Carolina who were not currently offering dry

needling services became aware of the Cease-and-Desist Letters. Those who became

aware of the Cease-and-Desist Letters included licensed physical therapists who intended

to enter the relevant market and were prepared to enter the relevant market, including Ms.

Carter and Dr. Jones. These licensed physical therapists, including Ms. Carter and Dr.

Jones, were deterred by the Cease-and-Desist Letters from entering the relevant market

because they did not want to subject themselves to “unauthorized practice” allegations by

the Acupuncture Board or the costs of defending against allegations of that kind.

       107.   More than a year after it issued the Cease-and-Desist Letters, the

Acupuncture Board on December 5, 2014 revised and republished the Publication on its

website. Upon information and belief, the Acupuncture Board also disseminated it again

to third parties. This time, however, the Acupuncture Board revised its earlier statement

that physical therapists offering dry needling were “endangering the public,” replacing

that language with the statement that they “may pose a threat to public safety.”




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       108.    On January 8, 2015, Dr. Majebe e-mailed a number of her contacts and

solicited them to call CBS headquarters in New York about a television program

featuring a physical therapist performing dry needling. Upon information and belief, Dr.

Majebe was seeking to manufacture the appearance of a growing “public safety” concern

over dry needling. Dr. Majebe provided a “template of what you can say” and told the

recipients of the e-mail to “feel free to use this exactly.” The “template” included the

threat that “airing the program will lead to countless complaints filed with the FCC.” Dr.

Majebe asked all of the recipients of her e-mail to “please send an email to me so that we

can track how many phone calls are going out of North Carolina.”

       109.    Dr. Majebe’s e-mail was forwarded by multiple acupuncturists in North

Carolina, including Samuel Townsend, who posted Dr. Majebe’s e-mail on a public

online forum entitled “Daoistshengshen.” In posting Dr. Majebe’s e-mail, Mr. Townsend

stated: “I had originally leaned toward the notion that if [physical therapists] are helping

patients, then there is no harm, but the more I have thought about dry needling, the more I

have come to believe that it undermines our profession.” Mr. Townsend further stated:

“If our potential patients believe that dry needling is the same as what we offer, why

would they come to us when insurance will cover dry needling?” Mr. Townsend further

stated that dry needling was “taking business away from us.”

       110.    Around that same time in January 2015, the Acupuncture Association was

actively raising money to fund efforts to exclude physical therapists from providing dry

needling.     On January 7, 2015, the Acupuncture Association e-mailed all of its



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acupuncturist members with an e-mail entitled “Your profession needs you.” The e-mail

stated as follows:

       We heard you loud and clear! At meetings held in chapters across our state
       during November and December, you told us what you wanted. The
       resounding and unanimous response heard from a record number of
       attendees was clear: stop dry needling.

       Charged with that mandate we are prepared to mount a vigorous defense of
       our profession and to protect our patients from untrained practitioners who
       are performing acupuncture (in spite of what they may euphemistically call
       it). To succeed, we need funding.

       NOW IS THE TIME to support your profession! Let’s put our money
       where our proverbial mouth is! Everything we plan to do to combat the
       encroachment of dry needling on our practice costs money.

       Act now! Don’t wait until it’s too late and dry needling becomes accepted.
       To fund this battle we must raise $25,000 immediately.

       111.   In response to the Acupuncture Association’s directive to “combat the

encroachment of dry needling on our practice,” the Acupuncture Board on September 2,

2015 filed an objectively baseless verified complaint against the Physical Therapy Board

in Wake County Superior Court (“the Lawsuit”). Dr. Norfleet executed the verification

for the Lawsuit.

       112.   The Lawsuit seeks a declaration that dry needling by licensed physical

therapists constitutes the unlawful practice of acupuncture.    The Lawsuit requests a

permanent injunction requiring the Physical Therapy Board to advise its licensees that

dry needling is not within the scope of physical therapy practice. More than two years

after the Acupuncture Board had issued the Cease-and-Desist Letters, the Lawsuit also




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seeks “a judgment authorizing the Acupuncture Board to notify physical therapists not

licensed to practice acupuncture in North Carolina to cease and desist from doing so.”

       113.   The Acupuncture Board filed the Lawsuit even though no reasonable

litigant could realistically expect success on the merits.

       114.   The Lawsuit is objectively baseless because it is subject to summary

dismissal on at least two independent grounds:

              (a)    First, the doctrine of sovereign immunity bars the Acupuncture

       Board’s claims in the Lawsuit.        The Physical Therapy Board is entitled to

       sovereign immunity in the absence of a waiver. The Physical Therapy Board has

       not waived its sovereign immunity; indeed, the complaint in the Lawsuit does not

       even allege such a waiver. Therefore, all of the Acupuncture Board’s claims fail

       for lack of personal jurisdiction and subject-matter jurisdiction. No reasonable

       litigant would fail to recognize that the Lawsuit would be dismissed on these

       grounds.

              (b)    Second, the doctrine of non-exhaustion also bars the Acupuncture

       Board’s claims in the Lawsuit. The Acupuncture Board brought the Lawsuit prior

       to exhausting its administrative remedies. It is settled law in North Carolina that a

       party seeking a declaratory judgment regarding an agency’s interpretation of its

       own scope-of-practice statute must first petition the agency for a declaratory ruling

       under N.C. Gen. Stat. § 150B-4. The Acupuncture Board failed to petition the

       Physical Therapy Board for a declaratory ruling prior to filing the Lawsuit.



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       Therefore, all of the Acupuncture Board’s claims fail for subject-matter

       jurisdiction. No reasonable litigant would fail to recognize that the Lawsuit would

       also be dismissed on these grounds.

       115.   The Lawsuit is subjectively baseless because it was filed in bad faith and

for an improper purpose. The Lawsuit was filed to further the financial interests of the

members of the Acupuncture Board as part of their ongoing course of conduct to suppress

competition. The Lawsuit was also filed to appease the Acupuncture Association, which

had been conspiring with the Acupuncture Board for years, as described above.

Immediately after the Lawsuit was filed, the Acupuncture Association posted the

complaint in the Lawsuit on its website and solicited funds “to assist in this important

cause.” Upon information and belief, the Acupuncture Association intends to fund some

or all of the Lawsuit.

       116.   The Acupuncture Board has demonstrated that its anticompetitive conduct

has no bounds. In the absence of injunctive relief, the Acupuncture Board will succeed in

completely expelling and deterring physical therapists from the relevant market.

                          Harm to Active Competitor Plaintiffs

       117.   Dr. Henry and Dr. Schulenklopper currently perform dry needling services

in North Carolina.       Dr. Henry and Dr. Schulenklopper actively compete with

acupuncturists—including the members of the Acupuncture Board—in the relevant

market.




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       118.    Dr. Henry and Dr. Schulenklopper earn a living, in part, by providing dry

needling services to their patients. Although the cost of their dry needling services is

modest, they earn substantial revenue (in the aggregate) from providing dry needling

services to their patients.

       119.    Dr. Henry and Dr. Schulenklopper are entitled to actual damages, including

lost profits, proximately caused by the Acupuncture Board’s anticompetitive acts. Upon

information and belief, the Acupuncture Board’s anticompetitive acts have deterred

North Carolina consumers within the relevant market from seeking dry needling services

from Dr. Henry and Dr. Schulenklopper. Dr. Henry and Dr. Schulenklopper are entitled

to three times these lost profits as damages in an amount to be proven at trial.

       120.    Dr. Henry and Dr. Schulenklopper are also entitled to injunctive relief. In

the absence of injunctive relief, the Acupuncture Board will continue its anticompetitive

efforts to expel Dr. Henry and Dr. Schulenklopper from the relevant market.

                        Harm to Non-Entrant Competitor Plaintiffs

       121.    Since at least 2014, Ms. Carter and Dr. Jones have strongly desired to enter

the relevant market as providers of dry needling services. However, the Acupuncture

Board’s anticompetitive acts described above have deterred Ms. Carter and Dr. Jones

from entering the relevant market.

       122.    The Acupuncture Board has caused Ms. Carter and Dr. Jones to fear that if

they or their respective physical therapy practices enter the relevant market, the




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Acupuncture Board will initiate “unauthorized practice” proceedings against them as set

forth in the Cease-and-Desist Letters.

       123.   Ms. Carter and Dr. Jones intend to enter the relevant market and would

have entered the relevant market but for their objectively reasonable fear that the

Acupuncture Board would take action against them. Ms. Carter and Dr. Jones were—and

are—prepared to enter the relevant market.

       124.   Ms. Carter has made arrangements to complete a certified course in dry

needling so that if the Acupuncture Board ceases its anticompetitive acts, Ms. Carter and

her practice can begin offering dry needling services.

       125.   Dr. Jones permitted one of the physical therapists on his staff, Dr. Polly

Martin, to take a certified course in dry needling so that if the Acupuncture Board ceases

its anticompetitive acts, Dr. Jones’ practice can begin offering dry needling services. Dr.

Martin is fully certified. Dr. Jones’ practice is prepared to offer dry needling services.

       126.    Ms. Carter and Dr. Jones are entitled to injunctive relief. Ms. Carter and

Dr. Jones currently intend to enter the relevant market and are prepared to enter the

relevant market but for their objectively reasonable fear that the Acupuncture Board will

take action against them. In the absence of injunctive relief, Ms. Carter and Dr. Jones

will continue to be deprived of substantial profits they would be earning by offering dry

needling to their patients and potential patients.

       127.   Ms. Carter and Dr. Jones are also entitled to damages, including lost profits,

proximately caused by the Acupuncture Board’s anticompetitive conduct. Ms. Carter and



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Dr. Jones would have earned substantial profits if they and their respective practices had

been able to enter the relevant market without fear that the Acupuncture Board would

take action against them. Ms. Carter and Dr. Jones are entitled to three times these lost

profits in an amount to be proven at trial.

                               Harm to Consumer Plaintiffs

       128.   Ms. Burkhard-Catlin and Ms. Purrington are patients of Dr. Henry. Dr.

Henry has performed dry needling on each of them numerous times.

       129.   Ms. Burkhard-Catlin and Ms. Purrington are professional ballet dancers.

       130.   Their intense training and ballet performances put great physical demands

on their bodies. Ms. Burkhard-Catlin and Ms. Purrington perform approximately 80

shows each year. They perform and rehearse on hard stages, which cause great stress on

their bodies. Additionally, Ms. Burkhard-Catlin and Ms. Purrington consistently push

their bodies to their physical limits, with demanding performance and training schedules,

hours of intense physical training, and movements that would be difficult—if not

impossible—for most professional athletes.

       131.   Ms. Burkhard-Catlin’s and Ms. Purrington’s physical health and well-being

are critical to their ability to continue their employment as professional ballet dancers.

Dry needling directly contributes to their professional success.

       132.   Ms. Burkhard-Catlin and Ms. Purrington each currently receive dry

needling—either from Dr. Henry or another physical therapist—approximately every two

weeks. The dry needling they receive is critical for them because it targets the specific



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muscles experiencing pain, tension, or spasms. The relief Ms. Burkhard-Catlin and Ms.

Purrington experience from dry needling is more immediate and effective than other

treatments such as massage.

      133.   Ms. Burkhard-Catlin has received acupuncture on numerous occasions in

the past. She sought acupuncture to relax, but she did not seek acupuncture to relieve

specific muscle pain or spasms.

      134.   In the fall of 2014, Ms. Purrington sought acupuncture to assist in the

healing process from a ligament injury. Ms. Purrington experienced no immediate relief

from acupuncture. She is uncertain whether the acupuncture helped her heal. Her injury

eventually resolved on its own approximately six months later.

      135.   For treatment of pain or dysfunction, Ms. Burkhard-Catlin and Ms.

Purrington prefer dry needling by physical therapists over Ashi point needling. This is

due to the differences between dry needling performed by physical therapists versus Ashi

point needling.

      136.   In the absence of injunctive relief, the Acupuncture Board’s anticompetitive

acts will exclude and deter physical therapists from the relevant market.      This will

deprive Ms. Burkhard-Catlin and Ms. Purrington of the benefits of consumer choice and

price competition in the relevant market.




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                                          COUNT 1

                 15 U.S.C. § 1: Violation of Section 1 of the Sherman Act

         137.   Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

         138.   Section 1 of the Sherman Act prohibits “[e]very contract, combination . . .

or conspiracy, in restraint of trade.” 15 U.S.C. § 1.

         139.   At all relevant times, the members of the Acupuncture Board—acting

through the Acupuncture Board—had market power in the form of coercive government

power.

         140.   At all relevant times, the members of the Acupuncture Board had the

capacity to conspire in violation of Section 1 of the Sherman Act. The acupuncturist

members of the Acupuncture Board competed against each other in the relevant market,

competed against other acupuncturists in the relevant market, and competed against

physical therapists performing dry needling in the relevant market. These acupuncturist

members of the Acupuncture Board continued to operate separate acupuncture practices

while serving on the Acupuncture Board. They had a personal financial interest in

expelling and deterring physical therapists from the relevant market because, upon

information and belief, they offered Ashi point needling and other acupuncture services

as part of their acupuncture practices. In their private practices, they remained separately

controlled, potential competitors.




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      141.   Acting through the Acupuncture Board, the members of the Acupuncture

Board reached an anticompetitive agreement to expel and deter a popular horizontal

competitor. As described above, the members of the Acupuncture Board agreed to:

      (a)    take the specific anticompetitive actions requested by the Acupuncture

             Association;

      (b)    prepare the Publication, post it on the Acupuncture Board website, and

             disseminate it to third parties in 2012;

      (c)    edit the “dry needling” entry on www.wikipedia.com;

      (d)    solicit complaints about physical therapists, then act on those complaints;

      (e)    issue the Cease-and-Desist Letters;

      (f)    revise the Publication, post it on the Acupuncture Board website, and

             disseminate it to third parties in 2014; and

      (g)    file the Lawsuit.

      142.   The members of the Acupuncture Board had a conscious commitment to a

common scheme designed to achieve their unlawful objectives. As confirmed by the

Acupuncture Board’s minutes, which were all unanimously approved, the members of the

Acupuncture Board reached an explicit agreement to engage in the anticompetitive

conduct described above. The minutes of the Acupuncture Board confirm its members’

unanimous support for these acts. In the alternative, the members of the Acupuncture

Board—at a minimum—acquiesced in the agreement to engage in such conduct.




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       143.   The agreement between the members of the Acupuncture Board had actual

anticompetitive effects and, in absence of injunctive relief, will continue to have actual

anticompetitive effects. As described above, these anticompetitive effects include:

       (a)    the exclusion of active competitors from the relevant market;

       (b)    the exclusion of non-entrant competitors from the relevant market;

       (c)    causing active competitors to suffer lost profits;

       (d)    causing non-entrant competitors to suffer lost profits; and

       (e)    depriving consumers of the benefits of price competition and consumer

              choice in the relevant market.

       144.   The agreement reached by the members of the Acupuncture Board has no

pro-competitive features. It is not justified by any efficiencies or other economic benefits

sufficient to justify its harmful effect on competition.

       145.   The anticompetitive conduct described above constitutes a per se

unreasonable restraint of trade. In the alternative, the anticompetitive conduct described

above constitutes an unreasonable restraint of trade under a quick-look analysis. In the

alternative, the anticompetitive conduct described above constitutes an unreasonable

restraint of trade under the rule of reason.

       146.   As described above, Plaintiffs have suffered injury-in-fact and, in the

absence of injunctive relief, will continue to suffer injury-in-fact. As described above,

Dr. Henry, Dr. Schulenklopper, Ms. Carter, and Dr. Jones have all suffered economic loss

and, in the absence of injunctive relief, will continue to suffer economic loss.         As



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described above, in the absence of injunctive relief, Ms. Burkhard-Catlin and Ms.

Purrington will be deprived of the benefits of consumer choice and price competition in

the relevant market.

       147.   Plaintiffs are entitled to three times their actual damages, prejudgment

interest, injunctive relief, the costs of this action, and attorneys’ fees against Defendants

under 15 U.S.C. § 15.

                                         COUNT 2

                42 U.S.C. § 1983: Violation of Substantive Due Process

       148.   Plaintiffs re-allege and incorporate by reference all preceding paragraphs.

       149.   42 U.S.C. § 1983 provides that “[e]very person who, under color of any

statute . . . regulation . . . [or] custom . . . of any State . . . subjects, or causes to be

subjected, any citizen of the United States or other person within the jurisdiction thereof

to the deprivation of any rights, privileges, or immunities secured by the Constitution and

laws, shall be liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress.”

       150.   At all relevant times, the Acupuncture Board Defendants exercised—and

continue to exercise—coercive government power that is available to them only because

they are members of the Acupuncture Board. Therefore, for purposes of 42 U.S.C.

§ 1983, the Acupuncture Board Defendants acted under color of state law.




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       151.   The Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution provides that “[n]o State shall . . . deprive any person of life, liberty, or

property, without due process of law.”

       152.   Dr. Henry, Dr. Schulenklopper, Ms. Carter, and Dr. Jones have a liberty

interest and a property interest in pursuing their right to earn a living in their current

professions. Each of them has a license in good standing from the Physical Therapy

Board to practice physical therapy.

       153.   The Acupuncture Board Defendants’ past and continuing efforts to expel

and deter physical therapists from the relevant market is arbitrary and capricious and not

rationally related to a legitimate government interest.

       154.   As described more fully above, the Acupuncture Board Defendants’ actual

motivation for their anticompetitive conduct is economic protectionism.         Economic

protectionism is not a legitimate government interest.

       155.   The Acupuncture Board Defendants cannot justify their anticompetitive

conduct with after-the-fact justifications of health or public safety. When performed by

licensed physical therapists, dry needling is sufficiently safe that there is no legitimate

government interest in requiring physical therapists to complete the requirements for an

acupuncture license—including a three-year postgraduate program—under N.C. Gen.

Stat. § 90-455.

       156.   Any such after-the-fact health or public safety justifications are even more

irrational given that the Physical Therapy Board already regulates physical therapists who



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perform dry needling. The Physical Therapy Board has determined that dry needling is

within the scope of practice of physical therapy. Therefore, the Physical Therapy Board

is required by law to take action against physical therapists who perform dry needling in

a manner that “could result in harm or injury to the public.” N.C. Gen. Stat. § 90-

270.36(9). Particularly given the safety and efficacy of dry needling performed by

physical therapists, there is no legitimate government interest in “double regulation” by

both the Physical Therapy Board and the Acupuncture Board. Duplicative regulation of a

safe intervention by two occupational licensing boards is not rationally related to a

legitimate government interest.

      157.   In addition, it would be irrational to require physical therapists to satisfy the

prerequisites for an acupuncture license before they can perform dry needling. The three

years of postgraduate acupuncture education and additional acupuncture training required

for an acupuncture license would not instruct physical therapists about dry needling; at

most, it would only instruct physical therapists about Ashi point needling. Dr. Henry, Dr.

Schulenklopper, Ms. Carter, and Dr. Jones have no interest in performing Ashi point

needling; they only want to perform dry needling. Likewise, acupuncture education

covers a broad range of topics that are irrelevant to dry needling—for example, the

practice of burning mugwort described above. For these reasons, requiring physical

therapists to satisfy the prerequisites for an acupuncture license before they offer dry

needling services is arbitrary and capricious and not rationally related to a legitimate

government interest.



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       158.   In the absence of permanent injunctive relief, there is a real and immediate

threat that the Acupuncture Board Defendants will initiate “unauthorized practice”

proceedings against Dr. Henry, Dr. Schulenklopper, Ms. Carter, and Dr. Jones as set forth

in the Cease-and-Desist Letters. In the absence of permanent injunctive relief, Dr. Henry,

Dr. Schulenklopper, Ms. Carter, and Dr. Jones will be unable to earn a living by

performing dry needling unless they subject themselves to the substantial burden of

obtaining a license to practice acupuncture.

       159.   The violation of Dr. Henry’s, Dr. Schulenklopper’s, Ms. Carter’s, and Dr.

Jones’ substantive due process rights constitutes per se irreparable harm.

       160.   Dr. Henry, Dr. Schulenklopper, Ms. Carter, and Dr. Jones are entitled to

prospective injunctive relief against the Acupuncture Board Defendants in their official

capacities to enjoin their continuing unconstitutional actions under the Fourteenth

Amendment.

                              DEMAND FOR JURY TRIAL

       161.   Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs

demand a trial by jury on all issues so triable.

                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       (1)    enter a permanent injunction prohibiting Defendants from continuing their

              illegal and anticompetitive actions in violation of 15 U.S.C. § 1;




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 (2)   award Plaintiffs treble damages and prejudgment interest from Defendants

       pursuant to 15 U.S.C. § 15;

 (3)   award Plaintiffs the costs of this action and attorneys’ fees against

       Defendants pursuant to 15 U.S.C. § 15;

 (4)   enter a permanent injunction enjoining the Acupuncture Board Defendants,

       their agents, officials, servants, employees, and all persons in active concert

       or participation with them from violating Plaintiffs’ rights under the

       Fourteenth Amendment;

 (5)   award Plaintiffs their costs of bringing this action, including their attorneys’

       fees, against the Acupuncture Board Defendants in their official capacities

       under 42 U.S.C. § 1988; and

 (6)   grant such further relief as appears to this Court to be equitable and just.




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 Respectfully submitted the 7th day of October, 2015.

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